17 F.3d 1434NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Roland G. LUCAS, Jr., Plaintiff Appellant,v.David SMITH;  C. E. Thompson;  David Williams;  LarryHuffman;  E. B. Wright, Jr.,;  D. A. Garraghty;Kelly, Warden and Subordinates,Defendants Appellees,andVIRGINIA DEPARTMENT OF CORRECTIONS;  Regional Administrationof All Regions;  Ombondsman of All Regions;Central Classification Board, Defendants.
    No. 93-6057.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 30, 1993.Decided:  March 2, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-91-144-R)
      Roland G. Lucas, Jr., Appellant Pro Se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, VA, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Roland G. Lucas, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lucas v. Smith, No. CA-91-144-R (W.D. Va.  Feb. 7, 1992;  Dec. 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    